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                                            ORDERED.


      Dated: November 04, 2019




                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION
                                       www.flmb.uscourts.gov


In re :                                                                      Case No. 6:19-bk-00046-KSJ
                                                                             Chapter 7

Surujnauth T. Bharrat and
Lilawatti Bharrat,
                        Debtor(s).
____________________________________/

       ORDER GRANTING TRUSTEE’S MOTION TO APPROVE SALE OF ESTATE’S
     INTEREST IN NON-HOMESTEAD REAL ESTATE IN ORANGE COUNTY, FLORIDA

          This case came before the Court on Trustee’s Motion for Order Approving Sale of Estate’s Interest
in Non-Homestead Real Estate in Orange County, Florida, dated October 8, 2019, (docket no. 40). Said
Motion was served on all interested parties and no response has been received by the Court. Therefore, the
Court considers the matter to be unopposed and having reviewed the Motion, the file, and being otherwise
apprised of the matter
          Accordingly, it is

1.   ORDERED that the Motion for Order Approving Sale of Estate’s Interest in Non-Homestead Real
     Estate in Orange County, Florida, is approved, and the Trustee is authorized to sell the estate’s interest
     in said property, as follows :

2.   The property to be sold is more particularly described as :
     Lot 194, WINFIELD UNIT 2, according to the plat thereof as recorded in Plat Book 36, Pages
     114 through 116, inclusive, Public Records of Orange County, Florida.

     Parcel ID No. 27-21-29-9356-01-940
     a/k/a 2133 Korat Ln., Maitland, FL 32751



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    3. The property shall be sold to the following buyer for the sales price indicated :

                                                                                           Sales Price
    Philip J. Chapman and Falana N. Daniel-Chapman                                         $ 235,000.00
    1528 Winter Green Blvd.
    Winter Park, FL 32792

    4. The Trustee has represented that no closing costs are to be paid by the Estate and has obtained short sale
    approval from the first and second mortgage holder. First mortgage holder has authorized the following to
    be paid from the sales price : normal closing costs, realtor fees and costs, sums necessary to satisfy an
    existing first mortgage, sums necessary to satisfy an existing second mortgage under second mortgage short
    sale approval, prorated 2019 real estate taxes, delinquent homeowners association dues, and bankruptcy
    estate carve out as described in the Motion.
    5. Trustee is authorized to transfer title to the property by Trustee’s Deed, conveying the interest of the
    estate, subject to all encumbrances, including current taxes, assessments, zoning, restrictions, and other
    requirements imposed by governmental authorities, restrictions and other matters appearing on the plat or
    otherwise common to the subdivision and/or condominium, and public utility easements of record.
    6. The Estate shall provide to buyer, a certified copy of the Order approving sale, certified copy of Notice
    of Commencement and certified copy of docket, reflecting no objection to the sale, or if any, that said
    objections have been overruled by Court Order.
    7. The 14-day stay pursuant to Rule 6004(h) is hereby waived.




Attorney Kristen L. Henkel is directed to serve a copy of this Order on interested parties who are non-
CM/ECF users and file a proof of service within 3 days of entry of the Order.



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